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                               UNITED STATES DISTRICT COURT
5
                             CENTRAL DISTRICT OF CALIFORNIA
6
7     MICHAEL SMITH,                               Case No. 2:20-cv-05197-DDP-JPR
8                           Plaintiff,             Hon. Dean D. Pregerson
9     v.
                                                   ORDER OF DISMISSAL WITH
10    TRANSUNION, LLC d/b/a                        PREJUDICE OF TRANS UNION
      TRANSUNION SMARTMOVE,                        LLC
11
                             Defendant.
12
13               Plaintiff Michael Smith and Defendant Trans Union LLC have announced to
14   the Court that all matters in controversy against Trans Union LLC have been resolved.
15   A Stipulation of Dismissal with Prejudice of Trans Union LLC has been signed and
16   filed with the Court. Having considered the Stipulation of Dismissal with Prejudice of
17   Trans Union LLC, the Court makes and delivers the following ruling:
18               IT IS ORDERED that the claims and causes of action that were or could have
19   been asserted herein by Plaintiff Michael Smith against Defendant Trans Union LLC
20   are in all respects dismissed with prejudice to the refiling of same, with court costs
21   and attorneys’ fees to be paid by the party incurring same.
22
23                      October 19,
                 DATED _______________ 2020.

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25                                         HONORABLE DEAN D. PREGERSON
                                           UNITED STATES DISTRICT JUDGE
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